     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 1 of 11




 1   JAMES E. HARPER
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 2   TAYLOR G. SELIM
     Nevada Bar No. 12091
 3   HARPER | SELIM
     1707 Village Center Circle, Suite 140
 4   Las Vegas, Nevada 89134
     Phone: (702) 948-9240
 5   Fax: (702) 778-6600
     Email: eservice@harperselim.com
 6   Attorneys for Defendant

 7                                 UNITED STATES DISTRICT COURT

 8                                         DISTRICT OF NEVADA

 9    ANTHONY DELGADO,                                     CASE NO.:

10                   Plaintiff,
                                                           STATE FARM’S PETITION FOR
11    vs.                                                  REMOVAL

12    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY,
13
                     Defendants.
14
15   TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

16          DISTRICT OF NEVADA

17          State Farm Mutual Automobile Insurance Company (“State Farm”), by and through its

18   attorneys, HARPER | SELIM, hereby remove this action to the United States District Court for the

19   District of Nevada.

20          The basis of removal is as follows:

21          1.      This Court has original jurisdiction over the subject matter of this action under the

22   provisions of 28 U.S.C. § 1332 in that there is complete diversity between the parties and more than

23   $75,000 in controversy, exclusive of interest and costs.

24          2.      State Farm, is an Illinois corporation with its principal place of business in that state,

25   and is authorized to transact insurance under the laws of the State of Nevada. State Farm is a

26   defendant in the above-entitled action now pending in the District Court, Clark County, Nevada,

27   Case No. A-18-773327-C, Dept. VIII. It is alleged in the c


                                                       1
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 1   Complaint that the Plaintiff, Anthony Delgado (hereinafter “Plaintiff”), is a resident of the State of

 2   Nevada.

 3          3.      With respect to the amount in controversy, the allegations in the Complaint coupled

 4   with the documents contained in the claims file establish an amount in controversy in excess of

 5   $75,000. For instance, the claims file documents, which are incorporated in full by this reference,

 6   show that Plaintiff qualifies as an insured under a State Farm automobile policy with underinsured

 7   motorist (“UIM”) benefits of $250,000 per person, per accident. Plaintiff has incurred $56,523.36 in

 8   special damages that he attributes to the subject accident. Plaintiff has demanded payment of his

 9   entire $250,000 UIM policy limits. As of the date of this Notice of Removal, State Farm has paid

10   Plaintiff $33,741.59 in UIM benefits; therefore, from a contractual standpoint, alone, there is

11   $216,258.41in controversy. The Complaint, moreover, seeks general damages; special damages;

12   punitive damages; interest; attorneys’ fees and costs; and such other relief at law and equity. The file

13   materials, coupled with the allegations of the Complaint, therefore, establish that the amount in

14   controversy is above the $75,000 jurisdictional threshold. See e.g., Hunter v. United Van Lines, 746

15   F.2d 635 (9th Cir. 1984) (holding that in cases involving a single plaintiff, the aggregate value of the

16   plaintiff’s claims may be used to meet the $75,000 amount in controversy requirement); Everett v.

17   Verizon Wireless, Inc., 460 F.3d 818 (6th Cir. 2006); Long John Silver’s, Inc. v. DIWA III, Inc., 650

18   F.Supp.2d 612 (E.D. Ky. 2009); Iglesias v. Mutual Life Ins. Co., 918 F.Supp. 31 (D. P.R. 1996).

19          In addition, this Court may also consider insurance bad faith verdicts in Nevada as further

20   evidence in establishing the requisite amount in controversy. McCaa v. Mass. Mut. Life Ins. Co., 330

21   F. Supp. 2d. 1143 (D. Nev. 2004). Representative verdicts include: Tracy v. American Family, 2:09-

22   cv-01257-GMN-PAL (in a September 2010 insurance bad faith case, the jury just awarded $50,000

23   for breach of contract, and then awarded an additional $150,000 in “general damages” for violation

24   of NRS 686A.310; no award for punitive damages); Republic Ins. Co. v. Hires, 107 Nev. 317 (1991)

25   (in an insurance bad faith case, the jury awarded $450,000 for compensatory damages and $22.5

26   million for punitive damages); Guaranty Nat’l v. Potter, 112 Nev. 199 (1996) (in an insurance bad

27   faith case, the jury awarded $75,000 for general compensatory damages even though the insureds


                                                      2
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 3 of 11




 1   were “out-of-pocket” only $4,000; and awarded punitive damage award of $1,000,000); Albert H.

 2   Wholers & Co. v. Bartgis, 114 Nev. 1249 (1998) (in an insurance bad faith case, the jury awarded

 3   $8,757 for “out-of-pocket” damages; $750,000 for general damages; and $7,500,000 in punitive

 4   damages against the insurance company); Merrick v. Paul Revere Life, 594 F. Supp. 2d 1168 (D.

 5   Nev. 2008) (in an insurance bad faith case, the jury awarded $30,000,000 in punitive damages).

 6   When all of this evidence is taken together, it is clear that the amount in controversy exceeds

 7   $75,000, and that the requirements set forth in 28 U.S.C. § 1332 have been met. As such, removal to

 8   federal court based upon diversity jurisdiction is appropriate.

 9          4.      The Notice of Removal is timely. Service of the complaint was effected on State

10   Farm Law Department on April 26, 2018. Pursuant to 28 U.S.C. § 1446 (b)(3), State Farm now

11   timely removes the action to the United States District Court for the District of Nevada.

12          5.      A copy of the Complaint, Summons, and Service of Process are attached hereto as

13   Exhibit “A.”

14          6.      State Farm has concurrently filed a copy of this Petition for Removal with the Clark

15   County District Court Clerk, and has served a copy of this upon Plaintiff.

16          Based on the foregoing, State Farm removes the above action now pending in the Eighth

17   Judicial District Court, Case No. A-18-773327-C, Dept. VIII, to this Court.

18          DATED this 16th day of May 2018.
                                                           HARPER | SELIM
19
20
                                                           ________________________________
21                                                         JAMES E. HARPER
                                                           Nevada Bar No. 9822
22                                                         1707 Village Center Circle, Suite 140
                                                           Las Vegas, NV 89134
23                                                         Attorneys for Defendant

24
25
26
27


                                                      3
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 4 of 11




 1                                     CERTIFICATE OF SERVICE

 2          Pursuant to Rule 5(b) of the Nevada Rules of Civil Procedure, I hereby certify under penalty

 3   of perjury that I am an employee of HARPER | SELIM and that on the 16th day of May 2018, the

 4   foregoing STATE FARM’S PETITION FOR REMOVAL was served upon those persons

 5   designated by the parties in the E-Service Master List for the above referenced matter in the Eighth

 6   Judicial District Court eFiling System in accordance with the mandatory electronic service

 7   requirements of Administrative Order 14-2 and the Nevada Electronic Filing and Conversion Rules:

 8
                                            Michael F. Bohn, Esq.
 9                                        Adam R. Trippiedi, Esq.
                                  LAW OFFICES OF MICHAEL F. BOHN
10                                 376 East Warm Springs Road, Suite 140
                                           Las Vegas, NV 89119
11                                          Attorney for Plaintiff

12
13                            _________________________________________
                                            An Employee of
14                                         HARPER | SELIM

15
16
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                                                     4
Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 5 of 11




             Exhibit “A”
      Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 6 of 11


                                 SERVICE OF PROCESS

Questions regarding the attached Service of Process should be directed to the person/section
of the Law Department checked in the bottom section below.

The attached papers were:


      1l,,ersonally served upon:

              Cassandra Arbuckle           June Bain

              Kate Lyons                    Christy Herald

              Kalene Hornsby               Jeanette L. Kaufman

Or


       DReceived by mail in the Office of the Corporate Secretary



On (date)___  {_tJ_:_~---
                'lf:i_,,1 If
After receipt, the attached papers were then forwarded to one of the following sections of the



           Summons - Litigation Coordinators

              Jason Cook (alias JOWG) 309-735-0796

              Valerie Coombs (alias HG9V) 309-763-1890

              Other
                    -------------
       0   Summons (SF Bank) - Bank Section

             · Amanda Wrage (alias EGPO) 309-766-6990

              Other
                    -------------
       0   Summons/ Garnishment of Wages - HR/Agency & Counseling Section

              Lisa Craghead (alias NHW8) 309-766-1936

              Other
                    -------------
       0   Subpoenas - Law Department's Subpoena Intake Section

              Renea Calvert (alias JWLP) 309-766-0973

              Other
                    -------------
       Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 7 of 11
                                     Electronically Issued
                                     4/23/2018 3:26 PM




 1   SUMM
     MICHAEL F. BOHN, ESQ.
 2   Nevada Bar No.: 1641
     ADAM R. TRIPPIEDI, ESQ.
 3
     Nevada Bar No.: 12294
 4   MICHAEL F. BOHN, ESQ., LTD.
     376 East Warm Springs Road, Suite 140
 5   Las Vegas, Nevada 89119
     (702) 642-3113
 6
     Attorney for Plaintiff
 7

                                      DISTRICT COURT
 8

 9                                CLARK COUNTY, NEVADA

10

11   ANTHONY DELGADO
12
           Plaintiff,
13
                                                                CASE NO. A-18-773327-C
     vs.                                                        DEPT. NO. Department a
14
     STATE FARM MUTUAL AUTOMOBILE
15
     INSURANCE COMPANY,
16
           Defendant.
17
                               SUMMONS - CIVIL
18
     NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
19   WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ
     THE INFORMATION BELOW.
20

21
     STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
22

23   TO THE DEFENDANT(S): A civil Complaint has been filed by the Plaintiff(s) against you for
     the relief set forth in the Complaint.
24

25

26

27

28


                                                  - 1 -




                                   Case Number: A-18-773327-C
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 8 of 11




 1
        1.     If you intend to defend this lawsuit, within 20 days after this Summons is
 2
               served on you, exclusive of the day of service, you must do the following:
 3

 4             (a) File with the Clerk of this Court, whose address is shown below, a formal

 5                   written response to the Complaint in accordance with the rules of the
 6
                     Court, with the appropriate filing fee.
 7
               (b)      Serve a copy of your response upon the attorney whose name and
 8
                        address is shown below.
 9

10      2.     Unless you respond, your default will be entered upon application of the

11             Plaintiff(s) and failure to so respond will result in a judgment of default against
12
               you for the relief demanded in the Complaint, which could result in the taking
13
               of money or property or other relief requested in the Complaint.
14
        3.     If you intend to seek the advice of an attorney in this matter, you should do so
15

16             promptly so that your response may be filed on time.

17
        4.     The State of Nevada, its political subdivisions, agencies, officers, employees,
18
               board members, commission members and legislators each have 45 days
19
               after service of this Summons within which to file an Answer or other
20
               responsive pleading to the Complaint.
21
                                                      STEVEN D. GRIERSON
22    Submitted By:                                   CLERK OF COURT
23

24           L-m / / ~,x,"? ~
     By: / / I { ~ W. ~ y - - -                        By'.Teresicame' ..ti.
25      MICHAEL F. BOHN, ESQ.                              Dep:uty Cierk       Date 41231201a
26      ADAM R. TRIPPIEDI, ESQ.                            Regional Jysli.~1 Center
        376 E. Warm Springs Rd. Suite 140                  200 Lewis Avenue
27
        Las Vegas, NV 89119                                Las Vegas, NV 89101
28      Attorney for plaintiff


                                                 -   2 -
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 9 of 11

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 1 COMP
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 2 Nevada Bar No.: 1641
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 3 ADAM R. TRIPPIEDI, ESQ.
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 6 Las Vegas, Nevada 89119
   (702) 642-3113/ (702) 642-9766 FAX
 7
   Attorney for plaintiff
 8
                                                DISTRICT COURT
 9
                                          CLARK COUNTY, NEVADA
10

11    ANTHONY DELGADO
                                                                    CASE NO.: A-18-773327-C
12           Plaintiff,                                             DEPT NO.: Department 8

13    vs.

14    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY,
15
              Defendant.
16
                                                   COMPLAINT
17
            Plaintiff Anthony Delgado, by and through his attorneys, the Law Offices of Michael F. Bohn,
18
     Esq., Ltd., alleges as follows:
19
             I. Plaintiff Anthony Delgado is a resident of Clark County, Nevada.
20
            2. Defendant State Farm Mutual Automobile Insurance Company ("defendant" or "State Farm")
21
     was and is a foreign corporation formed in Illinois and doing business in Clark County, Nevada ..
22
            3. On June 12, 2014, plaintiff Anthony Delgado was a properly restrained passenger in a private
23
     automobile operated by nonparty Brigitte LaRowe in Clark County, Nevada.
24
            4. The automobile in which plaintiff was a passenger was traveling north on Jones Boulevard
25
     toward the intersection with Harmon Avenue.
26
            5. As the automobile in which plaintiff was traveling lawfully entered the intersection against
27
     a green stoplight, a second automobile, operated by nonparty Luba Sperber, was traveling south on Jones
28




                                       Case Number: A-18-773327-C
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 10 of 11




 1 Boulevard when Ms. Sperber took an illegal left tum, against a stoplight flashing a yellow yield symbol,
 2 in front of Mr. Delgado's vehicle, causing an accident.
 3          6. As a result of the accident, plaintiff sustained severe physical and mental injuries resulting in
 4 pain and suffering; disability; and loss of enjoyment, all or some of which may be permanent in nature,
 5 and was transported to the hospital via ambulance.

 6          7. As a further direct and proximate result of the acts and omissions of Sperber, plaintiff incurred
 7 expenses for medical care and treatment and expenses incidental thereto, and will continue to incur

 8 expenses for medical care and treatment.
 9          8. As a further result of his injuries, plaintiff has been unable to perform many household and

IO leisure activities he was able to perform prior to the accident.
11          9. Sperber failed to use due care in the operation of her vehicle and as a direct and proximate

12 cause of her negligent operation of her vehicle, she caused the accident and plaintiffs severe injuries.

13          10. Sperber carried insufficient insurance coverage to cover plaintiff's damage.

14          11. On the date of the subject accident, defendant State Farm insured plaintiff for the type of
15 damages plaintiff suffered in the accident under an Uninsured/Underinsured Motorist rider providing
16 coverage for damages suffered as a direct and proximate result of the negligence of other vehicle
17 operators where the other vehicle operator has insufficient insurance coverage.

18          12. Plaintiff has fully complied with the terms of the subject insurance policy and is entitled to
19 recover for damages sustained during the accident.

20          13. State Farm has failed to honor the terms of its insurance contract as relates to plaintiff's
21 damages resulting from the accident.
22          14. Despite plaintiff's demands, State Farm has refused to honor plaintiff's request for payment
23 under the applicable insurance provisions.

24          15. As a direct and proximate result of State Farm's breach of contract, plaintiff has been
25 damaged in an amount in excess of Fifteen Thousand Dollars {$15,000.00).

26          16. Plaintiff has had to employ the services of an attorney and is entitled to an award of attorneys'
27 fees, costs and interest.

28         WHEREFORE, plaintiff prays for judgment against defendants as follows:
     Case 2:18-cv-00892-RFB-VCF Document 1 Filed 05/16/18 Page 11 of 11




 1         1. For general damages and special damages in an amount in excess of Fifteen Thousand Dollars

 2 ($15,000.00);

 3         2. For punitive or exemplary damages in a sum in excess of Fifteen Thousand Dollars

 4 ($15,000.00);

 5         3. For an award of attorney's fees, costs of suit and interest as allowed by law;

 6         4. For such other and further relief as to the Court may seem just and proper in the premises.

 7         DATED this   23rd   day of April, 2018.

 8                                                   LAW OFFICES OF
                                                     MICHAEL F. BOHN, ESQ., LTD.
 9

10
                                                     By: /s/ Adam R. Trippiedi, Esq.
11                                                       Michael F. Bohn, Esq.
                                                         Adam R. Trippiedi, Esq.
12                                                       376 East Warm Springs Road, Suite 140
                                                         Las Vegas, Nevada 89119
13                                                       Attorneys for plaintiff

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